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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



LINDA RUGG,
15699 Tern Street
Chino Hills, CA 91709,

              Plaintiff,                     Civ. A. No. 20-cv-0071

      vs.

FEDERAL AVIATION
ADMINISTRATION
800 Independence Avenue, SW,
Washington, DC 20591,
   SERVE:
   U.S. Department of Transportation
   Federal Aviation Administration
   Attn: Steve Dickenson, Administrator
   800 Independence Avenue, SW
   Washington, DC 20591
   SERVE:
   Civil Process Clerk
   U.S. Attorney’s Office
   501 Third Street, N.W.
   Washington, DC 20530
   SERVE:
   Hon. William P. Barr
   Department of Justice
   950 Pennsylvania Ave., N.W.
   Washington, DC 20530-0001
              Defendant.


                                      COMPLAINT

                                      JURISDICTION

     1.      This action arises under the law of the United States, namely, the Freedom of
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Information Act, 5 U.S.C. § 552 (“FOIA”). The Court has jurisdiction under 5 U.S.C. §

552(a)(4)(B).


                                 STATEMENT OF THE CLAIM

       2.       On November 21, 2019, the plaintiff, Linda Rugg, through her counsel, submitted

a request under the FOIA to the Federal Aviation Administration (“the FAA”). A true copy of

the request is attached to this Complaint as Exhibit 1.

       3.       The FAA acknowledged receipt of the request by letter dated January 3, 2020, but

it has not responded substantively to the request, nor has it provided Rugg with a written notice

under 5 U.S.C. § 552(a)(6)(B) extending the time for its response and providing a date on which

a determination is expected to be dispatched. Rugg is therefore deemed to have exhausted her

administrative remedies. A true copy of the acknowledgment is attached to this Complaint as

Exhibit 2.

       4.       Rugg is entitled under the FOIA to receive copies of the records requested in her

FOIA request.

                                     DEMAND FOR RELIEF

       Therefore, the plaintiff demands judgment enjoining the State Department from

withholding the records requested in the FOIA request and ordering the production of the records

improperly withheld; an award of reasonable attorney’s fees; and costs.

                                                      Respectfully submitted,

                                                      LINDA RUGG

                                                      By her attorneys:


                                                      /s/ Theodore J. Folkman
                                                      Theodore J. Folkman
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Dated: January 10, 2020
